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1                                CERTIFICATE OF SERVICE
2
           I hereby certify that on October 9, 2013, I electronically filed the foregoing with
3
     the Clerk of Court using the CM/ECF system which will send notification of such filing
4
5 to the attorneys of record for the defendant.
6
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